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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

FEDERAL TRADE COMMISSION                                §               Case No. 17-cv-194
Plaintiff,                                              §
                                                        §
v.                                                      §
                                                        §                   Judge Kennelly
                                                        §
CREDIT BUREAU CENTER, LLC, et al.,                      §
                                                        §
Defendants.                                             §           Magistrate Judge Valdez


         SUPPLEMENTAL DECLARATION OF MIKE BROWN IN SUPPORT OF
               DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
         MIKE BROWN, under the penalty of perjury and in accordance with 28 U.S.C. §1746,

states and declares that the following is true and correct:

     1. It appears that there is some confusion as to the websites that pre-existed the Subject

        Websites that were developed with Pierce and activated December 1, 2015. The FTC has

        referred as “publicly accessible sites” but all the sites were publicly accessible. To eliminate

        any confusion, I am attaching the pre-existing website for creditupdates.com. The landing

        page is different from the Subject Websites but all the other pages (Create My Membership,

        a Payment Page [credit card information] and a page for Social Security Information) are

        the same as the Subject Websites. Exhibit 1.

     2. The FTC has raised an issue involving my knowledge of industry practices. I have been

        involved in credit monitoring, marketing, and referral programs for over 15 years. I began

        working at Experian in 2002 as part of their Customer Service team. My experience was

        discussed in my deposition at pages 16-25. Ex. B, Brown Depo. at 16-25. In 2005, Experian

        embroiled in a lawsuit, in which the FTC required Experian comply with additional


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    standards. Because of this, I became familiar and knowledgeable with industry practices

    and standards within the credit monitoring and affiliate managing industries. Specifically, I

    developed familiarity with negative option disclosures; the FTC Act, proper disclosures for

    marketing products as free and the free credit report rule. I have continued monitoring

    industry practices by reviewing the FTC website, consent decrees & press releases, industry

    news blogs (e.g. ftcadlaw.com)

 3. The FTC has also raised an issue whether I took steps to address fraudulent conduct. I

     forgot to mention certain instances where I terminated or refused to enter into affiliate

     relationships due to fraud or affiliate practices. However, I discussed these instances in

     my deposition but did not use the company name where we terminated affiliate

     relationships due to fraud or questionable practices. When an independent contractor

     showed signs or explicitly stated that it would not follow the provisions set forth in the

     contract, then we terminated the relationship.


        a. CBC terminated two affiliate relationships with the affiliate network Boost
           Networks and refunded consumers because of suspected fraud detected from my
           detailed investigations of chargebacks and fraud alerts (one of at least three service
           CBC subscribed to mitigate fraud). After arranging a telephone call with the
           affiliate network, it did not satisfy my concerns from the chargebacks and fraud
           alerts. Accepting fraudulent affiliate transactions would open my company up to
           liability on multiple fronts including the FTC. Dkt. 11-3, McKenney Declaration at
           Ex. 23.

        b. CBC declined to work with an affiliate Mir Ali of LiveConnectGlobal when they
           approached one of my sales agents Tom Fragala to drive traffic to CBC. After
           probing and learning about their business practices I determined they did not
           comply with the TCPA by failing to get consumers express informed consent to be
           contacted by this company. Accepting these types of referral would have opened
           up my company to liability on multiple fronts including the FTC.

        c. CBC disabled a company Complete Credit Plus after 76 fraudulent accounts after
           by customer service supervisor Diego Munoz escalated this fraud to me. I



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            immediately instructed Tom Fragala to contact this company about the fraud and
            instructed customer service to cancel and refund all affected customers

        d. Prevention of fraud and protection of consumers was always important to me. Early
           in my business working with my Affiliate tracking platform through Too Much
           Media we discussed affiliate fraud detection systems. I worked to enable at least 3
           fraud detection systems including MaxMind, Verifi, Ethoca and shortly before the
           lawsuit, I was on track to enable another through a reseller for Kount, a fraud
           protection service. I did this because I know supporting or allowing fraud in
           anyway would not comply with FTC and regulations. Dkt. 11-3 Ex. 20 McKenney
           Declaration.

 4. Another issue was raised as to whether the website RentFind is relevant to this case. I

     specified Rentfind a number of times in my declaration (206-1 ¶’s 13(f), 35(c), 39(a)-(c),

     57(l)). I also mentioned RTO data base which was a subset of users who wanted to buy a

     home, as opposed to renting the home. I thought RTO and Rentfind were operated by

     Pierce. On July 23, 2016 I investigated whether Pierce’s Craigslist listings were fraudulent.

     I want to make it clear that tracking down Craigslist postings to a particular person is

     extremely difficult. With that said, I took the following steps:

        a. I received an email regarding a fraudulent Craigslist listing from either a BBB
           website that had the email copied and pasted into the email, or another source for a
           rental listing and set out to investigate where the email originated. Unfortunately, I
           did not keep a copy of the email.

        b. The best way to determine the source of the email was to copy and paste the email
           domain name into the url search bar. The email domain name was
           “tourshoppeb.site.” After I typed in the “tourshoppeb.site” domain into the url bar,
           I came across this website that appears to be run or associated with “Rent Find.”
           Ex. A, Brown Declaration at Ex. 6. Therefore, anyone who tried to find Lloyd’s
           website through the emailers domain name would have found a website that seemed
           very real, advertising legitimate properties for rent.

        c. This site belongs to or is associated with Lloyd because the domain name
           “tourshoppeb.site” was found in the emails Lloyd sent to consumers. However,
           because I no longer have access to customer emails, Jonathan Slotter searched the
           domain “tourshoppeb.site” in Andrew Lloyds emails to confirm that this was an
           active email domain for emails from Lloyd sent to consumers regarding apartment
           listings during the relevant time period of this lawsuit. Ex. H Slotter Supp.
           Declaration, April 20, 2018, at ¶4 a-b.

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        d. Additionally, FTC investigator McKenney noted that Lloyd purchased hundreds of
           domain names in order to make it impossible to track the websites to him. Dkt. 11-
           3, McKenney Declaration at ¶¶39-52. Although he does not cite this specific
           domain name as one that Lloyd owned, it is clear that Lloyd either owned or
           controlled this domain because he sent emails from the domain.

 5. The FTC has objected to a number of calculations and the methodology used to reach those

     calculations in Defendants Statement of Material Fact, specifically 53-55 and 63-67 and

     set out in my declaration. It was important for customer service to make accurate and

     thorough notations in the CRM database. These notations were critical to understanding

     how CBC was doing economically, and providing data for how we could improve or what

     we were doing well in. Inputting formulas into the database are necessary in order to access

     the information. I will address why each formula accurately represents the information and

     calculations for CBC:

        a. Retention of Members: Specifically, retaining customers who wanted to
           cancel was an important business strategy to CBC. I also wanted to ensure
           customers felt appreciated. Because of this, I instructed customer service
           to notate when customers were retained, had their price changed, or their
           trial period extended. Because of this strategy, customers who were retained
           often had their price lowered or trial period extended as part of the
           negotiation to retain them. The most accurate way to determine the number
           of customers who CBC retained is to filter the call notes with phrases such
           as “price was changed,” “renewal date extended,” “retain,” or “retained.” I
           gave counsel Jonathan Slotter the formula in order to extract that data from
           the database.

        b. Customer service was also instructed to make notations when customers did
           not receive a refund. CBC had a liberal refund policy, however we did not
           give refunds to everyone, particularly if we had reason to believe they were
           using our services for several months and then called in to get four (4) or
           five (5) months of refunds.

        c. I gave counsel Slotter a formula in order to filter out the call notes of “no
           refund” or “no refund requested,” “no refund asked,” “no refund was asked”
           and source code 35, in order to specifically narrow it down to consumers
           who reached CBC via Revable.


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        d. With this, we used the revenue generating formula to find out how much
           these customers spent with CBC. This resulted in a retention rate of 37%
           covering 2015-2016. To my knowledge, Customer Service did not make
           any misrepresentations to customers who chose to continue with CBC, who
           I believe liked the service but wanted a reduction in price.

        e. I gave Slotter a formula to search call notes of “no refund” and to not find
           call notes that said “no refund requested” in order to determine which users
           did not receive refunds. CBC/BRO 397. The formula gave 1,081 rows,
           meaning 1,081 users did not receive refunds. Slotter Supp. Declaration at
           Ex. 1. The original CBC/BRO 397 did not have the row output, although
           the formula is the exact name. With the 1,081 users who did not receive
           refunds, we divide this number into the 50,394 users who did receive
           refunds (CBC/BRO 379) and it comes to 97.85% of users who received
           refunds.

 6. Furthermore, I had no control over Pierce’s business, outside of controlling the traffic I

     accepted from his referrals.

        a. I had a contract with Revable to be an independent contractor.

        b. I did not approve or disapprove of who Pierce or Revable contracted to work on
           CBC’s account. I never even knew if he had or had not hired anyone. I was not
           privy to this information. The only person I knew who worked with Revable was
           Roger Furgeson, who I knew to be Revable’s Affiliate Manager because he told me
           that he was Revable’s Affiliate Manager in approximately 2013 during a phone
           call. I also saw his Linked In profile during this general time frame.

        c. I understood that Pierce was driving traffic to CBC through his renting ads. I did
           not understand the breadth and depth of the scheme in which Lloyd and/or Pierce
           took to cover their tracks and “drive” customers to CBC. I did not ever approve
           using Lloyd nor I even know of Lloyd until after this lawsuit was filed, nor was I
           aware that Revable, Lloyd (or both of them) had obtained thousands of domains as
           part of their scheme.

        d. I understood that most, if not all my affiliates were driving traffic to CBC through
           CraigsList, their own websites or some other strategy.

 7. The FTC has also alleged that I saw emails sent by Pierce or Lloyd to consumers stating

     that they would get a free credit report by going to CBC’s website. I never saw such emails

     and I am informed that there were very few such emails produced in discovery.




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   8. The FTC asserts that I knowingly violated the Preliminary Injunction (PI). To be clear, I

       did not hide anything from the FTC and complied with the Preliminary Injunction by giving

       written advance notice of my intent to the FTC to operate Zenfia. I was led to believe,

       from both my attorneys, and the reactions of the FTC in phone calls about Zenfia, that I

       was doing everything above board, with full transparency in regards to the database and

       Zenfia. I advised the FTC and the receiver that the customer information was not owned

       by CBC, but by Zenfia, a parent company that I also owned. The receiver worked with me

       and did not disable the database when turning over the credentials of CBC to the Receiver.

       Exhibit B. My understanding regarding the whole situation is that I was doing everything

       I needed to do in an effort to not violate the PI.

   9. I understand that the FTC claims that I may not be entitled to raise the advice of counsel

       defense, but I was also concerned that I was being represented by attorneys who had a

       conflict of interest and thought we needed to raise that issue with the Court. I did attempt

       to retain conflict free counsel, Rachel Hirsch and Bill Rothbard. I am informed that both

       of them were told that the FTC would object to new counsel and would oppose any funds

       to be used for counsel. At the hearing, my attorney, Greg Zini, refused to put me on the

       stand to explain the mitigating circumstances and promised to pay one third of the contempt

       fees if I agreed to entry of a contempt order. He did not pay any part of the contempt fine.

   10. This is a summary of my testimony. If called as witness at trial or hearing, I reserve the

       right to supplement or clarify my testimony.

Executed on April 20, 2018

                                                      ____________________________
                                                      Michael Brown




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                                                                                   EXHIBIT
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